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Case 2: 15. oF-00346- RFS. “Document 14° >Filed 12/08/15 Page 1 of. 2.

 

 

 

 

 

 

 

 

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DANIELG.BOGDEN ssi s—<(ti‘S en, fee YES - 8 2085
United States Attorney . : moe pe CO
District of Nevada —_ ne
we CLERK US DISTRICT COURT
JARED L. GRIMMER . _ DISTRICT OF NEVADA .
Assistant United States Attorney’ . oO BY: __ DEPUTY

333 Las Vegas Blvd. S.; Suite 5000
Las Vegas, NV 89101 -
702-388-6336 7

"UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA.
~ -0O00-

Case : 2:15-CR-340 |

UNITED STATES OF AMERICA, i)
| Plaintife ; CRIMINAL INDICTMENT
VIOLATION: _ |
VS. ) Felon In Possession of Firearm
RICK VANTHIEL, 18 U.S.C. § 922(g), 924(2)(2)
Defendant. - )

 

 

 

THE GRAND JURY CHARGES THAT:

COUNT 1 (Felon in Possession of a Firearm) .
On or about September 30, 2015, in the State and Federal District of Nevada,
RICK VANTHIEL,
the defendant herein, having been convicted of a crime punishable by imprisonment for a term
exceeding one year, to wit: Attempt Battery with Substantial Bodily Harm, in Clark County,
Nevada District Court Case Number C235849 on or about January 2, 2008; did knowingly

possess in and affecting interstate commerce a firearm; that is, a Hi-Point C9, 9 millimeter

| firearm, serial number P1690539; said possession being in and affecting interstate commerce.

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~ Case 2:18-cr-00840-RFB ‘Bocuiment-14 -Filed 12/08/35 Péoe-2 of 2
COUNT 2 2 (F elon i in Possession ofa Fiream)
. On or about September 30, 2015, in 1 the State and Federal District of Nevada,
: RICK VANTHIEL,
the defendant herein, having been convicted ofa acrime punishable by imprisonment for a term
exceeding one year, to wit: Attempt Battery with Substantial Bodily Harm, in Clark County,
Nevada District Court Case Number 235849 on or about January 2, 2008, did knowingly
possess in and affecting interstate commerce a firearm; that is, a Military ‘Armament Comp
MI10A1 , 9 millimeter firearm, serial number S501 1598; said possession being in and affecting
interstate commerce. | |
Allin violation of Title 18, United States Code, Sections 922(g)( 1) and 924(a)(2).. :
- DATED: this_8™ day of December, 2015. |
A TRUE BILL:

/S/

 

FOREPERSON OF THE GRAND JURY

DANIEL G. BOGDEN-
United States Attorney

Nes

T i
Ta States Attorney

 

 

 
